            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                        SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,               )
                                        )
                       Plaintiff,       )
                                        )
     vs.                                )     No. 15-05032-02-CR-SW-BP
                                        )
EDER ISAI VELLEJO-GONZALEZ,             )
                                        )
                       Defendant.       )


                       REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY


     The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to the one-count Indictment filed on August

25, 2015.   After cautioning and examining the Defendant under oath

concerning each of the subjects mentioned in Rule 11, I determined

that the guilty plea was knowledgeable and voluntary, and that the

offense charged is supported by a factual basis for each of the

essential elements of the offense.      I therefore recommend that the

plea of guilty be accepted and that the Defendant be adjudged guilty

and have sentence imposed accordingly.



Date: October 4, 2016               /s/ David P. Rush
                                    DAVID P. RUSH
                                    UNITED STATES MAGISTRATE JUDGE




      Case 3:15-cr-05032-RK   Document 68   Filed 10/04/16   Page 1 of 2
                                  NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




                                     2



      Case 3:15-cr-05032-RK   Document 68   Filed 10/04/16   Page 2 of 2
